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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

PETER STROJNIK,
                                                           No. 1:20-cv-00843-WJ-GBW
              Plaintiff,                                   No. 1:20-cv-00875-WJ-GBW
                                                           No. 1:20-cv-00938-WJ-GBW
v.                                                         No. 1:20-cv-00940-WJ-GBW
                                                           No. 1:20-cv-00998-WJ-GBW
ALBUQUERQUE BOCA HOTEL, LP                                 No. 1:20-cv-01003-WJ-GBW
D/B/A CROWNE PLAZA                                         No. 1:20-cv-01034-WJ-GBW
ALBUQUERQUE,                                               No. 1:20-cv-01325-WJ-GBW
                                                           Consolidated
              Defendant.

                                  ORDER OF DISMISSAL

       THIS MATTER comes before the Court on Defendant Water Street Inn, LLC n/k/a

Vanessie Properties LLC d/b/a The Inn at Vanessie ("Defendant") and Plaintiff Peter Strojnik's

Joint Motion to Dismiss with Prejudice, Doc. 128, filed July 12, 2021. Defendant and Plaintiff

state they "have resolved Plaintiff's claims against Water Street Inn, LLC pertaining to Case No.

1:20-cv-00875-WJ-GBW to their mutual satisfaction" and "jointly request the Court enter an Order

of Dismissal for Plaintiff's claims against Water Street Inn, LLC pertaining to Case No. 1:20-cv-

00875-WJ-GBW with prejudice."

       IT IS ORDERED that Defendant Water Street Inn, LLC n/k/a Vanessie Properties LLC

d/b/a The Inn at Vanessie and Plaintiff Peter Strojnik's Joint Motion to Dismiss with Prejudice,

Doc. 128, filed July 12, 2021, is GRANTED. Plaintiff's claims against Water Street Inn, LLC in

to Case No. 1:20-cv-00875-WJ-GBW are DISMISSED with prejudice.



                                            ________________________________________
                                            WILLIAM P. JOHNSON
                                            CHIEF UNITED STATES DISTRICT JUDGE
